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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

 

 

 

JOSE FRANCISCO ANTUNEZ GARCIA, )

Plaintiff, §
v. § Case No. l-lS-CV-543
MOUNT OF LEBANON RESTAURANT, LLC, et al., §

Defendants. §

)
AFFIDAVIT OF LEE B. WARREN
l. l am counsel for the Plaintiff in this matter.
2. The Complaint Was served on Mount of Lebanon Restaurant, LLC, through its

registered agent Kheder Rababeh, at 2922 Annandale Road, Falls Church, VA, on May l, 2015.
(ECF Dooket No. 4.)

3. Mount of Lebanon Restaurant, LLC’s responsive pleading was due on May 22,
2015. (ECF Docket No. 4.)

4. To date Mount ofLebanon Restaurant, LLC has not filed a responsive pleading

5. Upon information and belief, Mount of Lebanon Restaurant, LLC is a restaurant
doing business in Falls Church, Virginia.

Pursuant to 28 U.S.C. § 1746, I certify that the foregoing is true and correct.

Lé l/\/A/Ww\ 051/5

Lee Bv. Warren Date

 

